 Case 2:18-cv-05741-DMG-PLA Document 94 Filed 09/17/18 Page 1 of 4 Page ID #:3215




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12
                         UNITED STATES DISTRICT COURT
13                FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                         ) Case No.: 2:18-CV-05741-DMG-PLA
     LUCAS R., et al.,                     )
15   Plaintiffs,                           ) JOINT STIPULATION FOR
                                           ) BRIEFING    SCHEDULE AND
                                             HEARING DATE ON PLAINTIFFS’
16          v.                             ) MOTION FOR CLASS
                                           ) CERTIFICATION AND
17   ALEX AZAR, Secretary of U.S. Dep’t of ) DEFENDANTS’
                                             DISMISS
                                                              MOTION TO
     Health and Human Services, et al.,    )
18   Defendants.                           ) Hearing on Motions:
                                           ) October 26, 2018 at 9:30am
19                                         )
                                             Honorable Dolly Gee
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     JOINT STIPULATION OF BRIEFING SCHEDULE                                  1
 Case 2:18-cv-05741-DMG-PLA Document 94 Filed 09/17/18 Page 2 of 4 Page ID #:3216




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 2         In accordance with the Court’s September 10, 2018 Order, ECF No. 85, and

 3 pursuant to Civil Local Rule 7-3, on September 14, 2018, the parties met and

 4 conferred regarding the briefing and hearing schedules for Plaintiffs’ Motion for

 5 Class Certification and Defendants’ Motion to Dismiss. By and through their

 6 respective attorneys, the parties hereby stipulate to the following briefing schedule:

 7         September 28, 2018                 Plaintiffs’ Motion for Class Cert. &
                                              Defendants’ Mot. to Dismiss
 8
           October 5, 2018                    Defendants’ Opposition to Class Cert. and
 9                                            Plaintiffs’ Opposition to Motion to Dismiss

10         October 12, 2018                   Plaintiffs’ Reply to Defendants’ Opposition
                                              to Class Cert. &
11                                            Defendants’ Reply to Plaintiffs’ Opposition
                                              to Mot. to Dismiss
12
           October 26, 2018                   Hearing on Motions
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     JOINT STIPULATION OF BRIEFING SCHEDULE                                                 2
 Case 2:18-cv-05741-DMG-PLA Document 94 Filed 09/17/18 Page 3 of 4 Page ID #:3217




 1 Dated: September 17, 2018                  NATIONAL CENTER FOR YOUTH LAW

 2                                            (by Defendants’ counsel, with permission)
                                              __/s/ Leecia Welch_____
 3                                            LEECIA WELCH
                                              Attorney for Plaintiffs
 4

 5                                            JOSEPH H. HUNT
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11                                               /s/ Marina C. Stevenson
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17                                            Attorneys for Defendants

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     JOINT STIPULATION OF BRIEFING SCHEDULE                                               3
 Case 2:18-cv-05741-DMG-PLA Document 94 Filed 09/17/18 Page 4 of 4 Page ID #:3218




 1                            CERTIFICATE OF SERVICE

 2         I certify that, on September 17, 2018, I caused the foregoing documents to

 3 be filed via the CM/ECF system, which caused a copy to be served on Plaintiff’s

 4 counsel of record.

 5
     DATED: September 17, 2018.                  Respectfully submitted,
 6
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 7                                               Assistant Attorney General
                                                 Civil Division
 8                                               ERNESTO H. MOLINA, JR.
                                                 Deputy Director
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                                                    /s/ Marina C. Stevenson
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     JOINT STIPULATION OF BRIEFING SCHEDULE                                             4
